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UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

ADRIENNE JONES

Plaintiff, Case No. 2:1 7-cv-02312-APG-CWH
VS.
STIPULATION AND ORDER FOR
DISMISSAL WITH PREJUDICE AS
TO DEFENDANT TRANS UNION LLC
ONLY

EXPERIAN INFORMATION
SOLUTIONS, INC. and
TRANS UNION LLC

Defendants.

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Pursuant to F.R.C.P. 41(a)(1 (ii) and local rule 7-1(b) it is hereby stipulated by the parties
hereto that Defendant Trans Union LLC be dismissed with prejudice, each party to bear their owt

costs and attorney's fees.

 

 

 

 

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Attorney for Plaintiff Counsel for Defendant Trans Union LLC

IT 1S SO ORDERED this day of

 

UNITED STATES DISTRICT JUDGE

 
